- Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 1 of 55

SUMMARY STATEMENT ON APPLICATION FOR

EXPEDITED SERVICE AND/OR-INTERIM RELIEF
(SUBMITTED BY MOVING PARTY)

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- Attorpey for Onposition

 

Attorney for Movant

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DISPOSITION
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ALL PAPERS TO BE SERVED PERSONALLY.
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SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE DIVISION: FIRST DEPARTMENT

 

 

-- X
MANUEL P. ASENSIO,
NOTICE OF MOTION
Interim Relief Requested
Petitioner,
-against File No. 128425

EMILIE BOSAK, Docket No. V-43839-
13/13A

Respondent.
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PLEASE TAKE NOTICE that upon the affidavit of Manuel P.
Asensio, sworn to March 12, 2017, the affirmation of Mitchell Cantor, dated
June 5, 2017 and all of the other papers had herein, the undersigned will move
this court at the courthouse located at 27 Madison Avenue, New York, New
York on the 6th day of June 2017 at 12:00 p.m. of that day, or as soon
thereafter as counsel can be heard why an order should not be made and
entered pursuant to CPLR Section 5702 and F amily Court Act 1112:

(a) granting Petitioner leave to appeal the June 1, 2017 Order/Decision
of the Hon. Adetokunbo O. Fasanya issued from the bench dismissing
Petitioner’s procedural opposition to the Order to Show Cause of Attorney for

the Child, Carmen Restivo, seeking to hold Petitioner in Contempt of Court
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in order to compel him to pay the legal fees billed to him (henceforth the “June
1, 2017 Order”); and

(b) staying hearing and determination of the February 16, 2017 and
May 12, 2017 Orders to Show Cause signed by the Hon. Adetokunbo O.
Fasanya pursuant to which the Attorney for the Child seeks to enforce
payment of her fees by contempt ; and

(c) for such other and further relief as this Court deems Just and proper.

Sufficient cause being alleged therefor, it is

ORDERED that pending the hearing and determination of this Motion
all contempt proceedings against Petitioner pursuant to the Attorney for the
Child’s February 16, 2017 and May 12, 2017 Orders to Show Cause are stayed
pendente lite, and it further is

ORDERED that service of a copy of this Motion and the papers upon
which it is based made by email transmission and by regular mail upon
Respondent Emilie Bosak by her attorneys Chemtob Moss & Forman, LLP
on or before June __, 2017 and upon attorney for the child Carmen Restivo,
Esq. on or before June___, 2017 be deemed sufficient service thereof.

ENTER,

 

J.A.D.
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Law Offices of Mitchell Cantor
355 Lexington Avenue, Suite 401
New York, NY 10017
Tel. (212) 679-7820
Attorneys for Petitioner/Appellant

Attorney signature pursuant to Sec. 130-1.1 of the
Rules of. ye Chief Administrator, (22 NYCRR)
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SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE DIVISION: FIRST DEPARTMENT

 

 

 

 

X
MANUEL P. ASENSIO,
AFFIRMATION IN
SUPPORT
Petitioner,
-against File No. 128425
EMILIE BOSAK, Docket No. V-43839-13/13A
Respondent.
- Xx

 

MITCHELL CANTOR, an attorney duly admitted to practice law before the
Courts of the State of New York and aware of the penalties for perjury, affirms as
follows:

1. [am the attorney for the petitioner Manuel P. Asensio in connection with this
matter before the Appellate Division, First Department. I make this affirmation in
support of petitioner’s application: (a) for leave to appeal the June 1, 2017
Order/Decision of the Hon. Adetokunbo O. Fasanya issued from the bench
dismissing Petitioner’s procedural opposition to the Order to Show Cause of
Attorney for the Child Carmen Restivo (henceforth “AFC”) seeking to hold
Petitioner in Contempt of Court in order to compel him to pay the legal fees billed
to him by the Attorney for the Child (henceforth the “June 1, 2017 Order”) (b)
staying hearing and determination of the February 16, 2017 and May 12, 2017

1
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Orders to Show Cause of the AFC seeking to hold Petitioner in Contempt of Court
in order to compel him to pay her legal fees, and (c) for such other and further relief
as this Court deems just and proper.

History of Petitioner’s Opposition to Attorney for the Child Orders in this
Court

2. Petitioner has now submitted six applications to this Court since December 6,
2016 seeking leave to appeal various orders issued by the Hon. Adetokunbo O.
Fasanya in this matter. Three of these applications have sought leave to appeal the
appointment of the AFC as she has been appointed and reappointed in various orders.
3. The AFC was first appointed by the Hon. Adetokunbo O, F asanya on May 19,
2014 at a private pay rate of $300 an hour, ninety percent of which was allocated to
Petitioner. (Henceforth the “May 19, 2014 AFC Order”). A copy of the May 19,
2014 AFC Order is annexed hereto as “Exhibit 1”,

4. On December 6, 2016 Petitioner sought leave of this Court to appeal the May
19, 2014 AFC Order and for a stay thereof pendente lite.

5. On December 6, 2016, this Court granted Petitioner a stay of the enforcement
of the AFC’s fees pursuant to the May 19, 2014 AFC Order pending hearing and
determination of Petitioner’s Motion. Petitioner’s December 6, 2016 application
was ultimately denied on F ebruary 2, 2017 and the stay accordingly lifted. A copy
of the Appellate Division determination of that motion is annexed hereto as “Exhibit

2.
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6. On or about December 8, 2016 the Hon. Adetokunbo O. Fasanya issued a
Corrected AFC Order which also appointed the AFC at a private pay rate of $300
and which allocated payment of ninety percent thereof to Petitioner. (Henceforth
the “December 8, 2016 Corrected AFC Order”). A copy of the December 8, 2016
Corrected AFC Order is annexed hereto as “Exhibit 3”,

7. On March 7, 2017 Petitioner sought leave to appeal the December 8, 2016
Corrected AFC Order and for a stay thereof pendente lite. This Court declined to
issue a stay of the December 8, 2016 Corrected AF C Order but the Court entertained
Petitioner’s application, which is currently under review. A copy of the Appellate
Division determination of that motion is annexed hereto as “Exhibit 4”,

8. On about March 13, 2017 Petitioner withdrew all of his applications pending
before the Family Court under the present docket number and the Family Court
accepted this withdrawal on the record. Notwithstanding Petitioner’s withdrawal
and the Family Court’s acceptance of it, the Family Court continued to assert
jurisdiction over applications allegedly filed against Petitioner by Respondent and
in connection therewith, orally reappointed the AFC from the bench in a sua sponte
order on the record (Henceforth the “March 13 2017 Sua Sponte AFC Order”). A
copy of the March 13, 2017 Sua Sponte AFC Order is annexed hereto as “Exhibit
5”.

9. On or about March 27, 2017, Petitioner sought leave to appeal the March 13,

2017 Sua Sponte AFC Order and for a stay thereof pendente lite. This Court
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declined to issue a stay of the March 13, 2017 Sua Sponte AFC Order but this Court
again entertained Petitioner’s application and ordered that Opposition to the
Petitioner’s March 7, 2017 application, to Petitioner March 10, 2017 application
unrelated to the AFC seeking leave to appeal Petitioner’s January 15, 2016
suspension and to Petitioner’s March 27, 2017 application be consolidated with a
consolidated return date of April 10, 2017. A copy of the Appellate Division
determination of that motion is annexed hereto as “Exhibit 6”.

10. Onor about May 26, 201 7, Petitioner sought leave to appeal the AFC’s Orders
to Show Cause seeking to hold Petitioner in contempt to compel him to pay her legal
fees and for a stay thereof pendente lite. The Appellate Division declined to issue
the relief requested but did so without prejudice to Petitioner to present his
arguments at trial. A copy of the Appellate Division determination of that motion is
annexed hereto as “Exhibit 7”.

11. Petitioner presently has two applications pending before this Court seeking
leave to appeal two AFC Orders, the December 8, 2016 Corrected AFC Order and
the March 13, 2017 Sua Sponte AFC Order. The present application does not seek
this relief.

The Present Order to Show Cause Seeking to Compel Payment by Contempt
12. The AFC has repeatedly brought on Orders to Show Cause to compel
Petitioner to pay her fees under pain of contempt. She has done so most recently on

February 16, 2017 and again on May 12, 2017 in Orders signed by the Hon.
4

 
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Adetokunbo O. Fasanya as of those date seeking to hold Petitioner in contempt to
compel him to pay $30,367.40 to her for legal fees. A copy of the F ebruary 16, 2017
Order to Show Cause and of the May 12, 2017 Order to Show Cause signed by Judge
Fasanya are annexed hereto as “Exhibit 8”.
Unavailability of Contempt to Enforce the Payment of AFC Fees

13. Petitioner’s May 26, 2017 application addressed only the applicability of
contempt as a mechanism to enforce the December 8, 2016 Corrected AFC Order
and the March 13, 2017 Sua Sponte AFC Order. It remains Petitioner’s position as
clearly provided in the law that contempt is a draconian sanction that should never
be used to enforce the payment of financial obligations, particularly here where
Petitioner has repeatedly made it clear that he lacks the ability to pay them. This
was Petitioner’s argument to this Court on May 26, 2017.

Judge Fasanya erred in determining on June 1, 2017 that there was
jurisdiction to hold a contempt hearing

14. The present application is even more limited. On June 1, 2017, the Honorable
Adetokunbo O. Fasanya (henceforth “J udge Fasanya”) commenced a hearing on the
issue of Petitioner’s contempt. Judge Fasnaya determined from the bench that the
hearing on contempt should continue notwithstanding the threshold procedural
objections raised by Petitioners’ trial counsel, Terry Brostowin. These issues are:
(a) Petitioner testified that he was never served with a certified copy of the Court
Order upon which the contempt is based notwithstanding the requirement of CPLR

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Section 5104; (b) The AFC cannot seek contempt pursuant to Domestic Relations
Law Section 245 since that provision is available only to a party in a domestic
relations proceeding, which the AFC is not, and (c) The AFC cannot seek contempt
pursuant to Judiciary Law Section 756 since she is not a party to the proceedings. It
is Petitioner’s position that Judge Fasanya erred in allowing the contempt hearing to
continue notwithstanding the procedural defects in the AFC’s application. These
defects undermined the Family Court’s jurisdiction to consider a contempt finding
against Petitioner. A copy of the relevant pages of the transcript of the June 1, 2017
hearing in which Mr. Brostowin raised these issues and in which Judge Fasanya
dismissed them is annexed hereto as “Exhibit 9”,

15. Petitioner raised the issue of the AFC ‘s right to seek contempt under the
Judiciary Law on May 26, 2017, even before Judge Fasanya incorrectly determined
that she was entitled to do so. Petitioner cited Lowe’s Theatre & Realty Corp. v.
105 Second Avenue Enterprises, Inc., 31 A.D.2d 628, 296 N.Y.S.2d 15 (1 Dept.
1968) as support for this proposition and stated that as a threshold issue the AFC, a
non-party to this action, does not have the right to seek enforcement of an order by
contempt, even if the AFC were not merely seeking to enforce the payment of
alleged financial obligations. Neither the AFC nor her client, Petitioner’s child, is a
party to the present proceedings. The legal standard as to who may maintain a
contempt proceeding is that only a person whose party or estate has sustained injury

can bring a proceeding to enforce an order by contempt. It can well be argued that
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the child is a third party to this action, let alone her attorney, who has no personal
stake in the outcome thereof. The First Department has clearly stated that a non-
party such as the AFC is not entitled to maintain a contempt proceeding. Therefore
the AFC’s application to enforce the February 16, 2017 Order and her supplemental
May 12, 2017 Order by an application for contempt should be stayed pending appeal
regardless of whether a party could otherwise enforce it.

16. Perhaps even more significantly, the AFC in both her February 16, 2017 Order
to Show Cause and in her supplemental May 12, 2017 Order to Show Cause based
her authority to seek contempt to enforce payment of her fees on Domestic Relations
Law Section 245. Domestic Relations Law Section 245 ONLY allows a spouse to
enforce contempt in an action for divorce, separation or annulment. As Petitioner
has argued herein and as Mr. Brostowin argued before Judge Fasanya, the AFC is
certainly not a spouse, let alone a party to these proceedings and the petition pending
before Judge Fasanya is a petition for the modification of custody, not one for
divorce, separation or annulment. Consequently Judge Fasanya has no jurisdiction
to enter a contempt order against Petitioner in favor of the AFC to compel the
payment of her fees on the basis of Domestic Relations Law Section 245. It was
clearly error on the part of the Court to continue with the contempt hearing after Mr.
Brostowin made this argument to Judge Fasanya, which he did clearly and cogently
as transcribed on page 15 of the transcript, lines 7 through 25 and on page 16 of the

transcript, lines | through 18.
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17. Finally, Judge Fasanya erred in continuing the contempt hearing after
Petitioner testified that he was never served with a certified copy of the underlying
order on which the AFC’s contempt application was based. Section 5104 of the
CPLR, which the AFC cites as a jurisdictional prerequisite of both of her Orders to
Show Cause for contempt to compel the payment of her fees, requires that the party
seeking to hold an alleged contemnor in contempt first serve the alleged contemnor
with a certified copy of the judgment or order which the movant seeks to enforce by
contempt. The AFC never served Petitioner with a certified copy of the underlying
order. In fact, she does not even allege that she did so in either her affidavit in
support of her February 16, 2017 Order to Show Cause or in her affidavit in support
of her supplemental May 12, 2017 Order to Show Cause. She says nothing more
than that she emailed her invoices to Petitioner, nothing about service of the
underlying Order. Mr. Brostowin, Petitioner’s trial counsel, raised this argument
before Judge Fasanya on page 14 of the transcript at lines 21 to 25 and on page 15
of the transcript on line 1. The Court failed to recognize that the AFC as the
proponent of the contempt proceeding has the burden of proving compliance with
all of the perquisites thereof that she identified as necessary to maintain her contempt
proceeding. By allowing the AFC to continue with her contempt proceeding when
her own papers fail to allege that she served the Petitioner with a certified copy of
the underlying order and when she further failed to testify in before the Court that

she did so, the Court erred and the contempt proceeding must be stayed. This failure
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on the part of the Court is even more disconcerting in light of Petitioner’s sworn
representation at paragraph 13(a) of his March 12, 2017 affidavit in opposition to
the AFC’s February 16, 2017 Order to Show Cause wherein he swears that he was
never served with a certified copy of the order which the AFC is now seeking to
enforce by these contempt proceedings. It has been Petitioner’s position throughout
these proceedings that the Court has blithely approved any application brought by
the AFC regardless of its glaring procedural or substantive defects. Those
allegations are certainly true in connection with the AFC’s current applications to
hold Petitioner in contempt and the Court’s refusal to require her to comply with
proper procedural requirements to do so.

18. It is a gross infringement of his due process rights to threaten Petitioner with
a potential loss of liberty on the basis of a procedurally defective and unsupported
application for contempt. The potential loss of liberty requires procedural due
process safeguards far in excess of those required when only property is at stake.
The Court erred in its failure to take note of the AFC’s procedural deficiencies how
Petitioner is entitled to a greater, not a lesser, adherence to correct procedure since
his liberty is at stake.

19. The AFC is actually seeking to resurrect debtor’s prison as a cudgel to obtain
payment even before it is established that payment is justified. Such a procedure
violates all of the Constitutional guarantees of due process and of fundamental

fairness and cannot be permitted.
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20. As Petitioner argued on May 26, 2017 in this Court, he runs the risk of the
irreparable harm of incarceration if the relief sought herein is not granted. While
only money is at stake to the AFC, Petitioner stands to lose his liberty if the
scheduled contempt hearing is not stayed. This argument is even truer today in light
of the Court’s errors on June 1, 2017.

21. No previous application has been made to this or any other Court in
connection with the issues raised herein except (i) Petitioner’s December 5, 2016
motion for, inter alia, leave to appeal the May 19, 2014 AFC Order and for a stay of
that Order pending appeal (ii) Petitioner’s March 7, 2017 motion for leave to appeal
the December 8, 2016 Corrected AFC Order and for a stay of that Order pending
appeal, (iii) Petitioner’s March 27, 2017 motion for leave to appeal the March 13,
2017 Sua Sponte AFC Order and for a stay of that Order pending appeal and (iv)
Petitioner’s May 26, 2017 motion for leave to appeal the May 12, 2017 Order to
Show Cause seeking to hold him in contempt to compel payment of the AFC fees
and for a stay of that Order pending appeal. I certify that the present application is
not frivolous.

Dated: New York, New York
June 5, 2017

  

» MITCHELL CANTOR

 

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FAMILY COURT OF THE STATE OF NEW YORK

 

 

 

 

 

COUNTY OF NEW YORK
-----~ x
MANUEL P. ASENSIO,
AFFIDAVIT IN
SUPPORT
Petitioner-Appellant,
-against File No. 128425
EMILIE BOSAK, Docket No. V-43839-13/13A
Respondent-Respondent.
-- x

 

STATE OF NEW YORK )
COUNTY OF NEW YORK ~

MANUEL P. ASENSIO, being duly sworn, deposes and says:
I. I am the Petitioner in the above captioned matter and I make this affidavit
under oath under penalty of perjury in support of my application:
2. This Court, on November 4, 2016, stated several times and unequivocally that
I was free to withdraw, be free of personal jurisdiction and never return to that
courtroom. See Exhibit 2 at 37-39.
3. On this basis alone, I strongly object to Judge Fasanya signing the AFC’s
eleventh order to show cause for contempt and commanding my presence in court

after explaining several times that I did not have to appear again. My intention to

withdraw from the instant litigation was clear: this Court’s use of its contempt power

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to summon me is disingenuous in light of the numerous assurances Judge Fasanya
gave me that I did not have to return to Court. I am present in Court today for a
special appearance, i.e., the sole purpose of defending my rights under the contempt
motion, and to argue, in the alternative in the event my withdrawal was somehow
not accepted by this Court despite its numerous assurances — for certain remedies
prior to trial.

Opposition to Attorney for the Child’s Motion for Contempt
4. At the outset, I will reiterate the numerous reasons, based in law and in fact,
why the Attorney for the Child’s (AFC) Order to Show Cause for Contempt must
fail and be denied.
5. The allocation of costs was first issued from the bench at a conference held
on May 15, 2014. See May 15, 2014 transcript of proceedings at 46-47. The Court
lacked the requisite financial information of the parties at that time to reach its 90/10
percent allocation at that time. This Court did order both parties to produce their
financials by the October 3, 2014 hearing, but it did not happen. The Respondent
Mother did not submit her financials, and this Court never held a hearing. However,
in the maelstrom of issues swirling in this case, the particular issue seemingly got

lost and was never given the proper attention of this Court.

6. A review of my Financial Disclosure Affidavit filed with this Court near the

outset of this litigation, my numerous updated financial filings, and the attorney

 
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affirmation of Mr. Battaglia filed on November 12, 2014, clearly and convincingly
substantiates the existence of indebtedness and liabilities in such measure and
number that I am hard pressed to make ends meet and rely on the good-will of
friends. Ihave proven clearly and convincingly I am unable to satisfy the assessment
pertaining to the payment of the retainer of the child’s attorney and as a result I have
found myself under threat of incarceration TEN times.

7. In all the time that has elapsed since the original fee allocation in May 2014,
it is easy to forget the genesis of the original error made by this Court that has since
calcified into TEN orders to show cause filed by the AFC that have been seemingly
rubberstamped by this Court, for contempt against me.

8. This Court ordered the financials of both parties to be made available to this
Court at the October 3, 2014 hearing. This did not happen. The Respondent Mother
was not even in Court that day, for the Court to conduct a fact-finding to support its
interim allocation order.

9. My financial records make it painfully clear that I lack the slightest modicum
of wealth to satisfy the monetary burden foisted on me by the May 19, 2014 order
appointing the AFC and the Court’s decision on October 3, 2014 which was structure
on an incomplete record and was never revisited or corrected as this case moved

forward with wave upon wave of fresh issues.

 
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10. Had the financials of both parties been made available to this Court at the
October 3, 2014 hearing as directed, any consideration of contempt would have been
readily dispelled in favor of a finding of an inability to pay thereby negating the
requisite intent which must be present to support a finding of contempt. As a matter
of law, there cannot be a finding of contempt in the absence of any willful design,
purpose, or intent to disrespect, disregard or circumvent the existing order.

11. When confronted with the threat of immediate arrest, I have had to run out of
the courtroom to beg a friend to lend me the money. I have done this TEN times.
Now, that friend cannot lend me anymore and I face the dire prospect of
incarceration.

12. My motions made by order to show cause urging this Court to revisit this
onerous, off-the-cuff fee allocation, that never had the benefit of being supported by
financials of both parties and never had the benefit of a full and fair hearing, have
all been ignored by this Court. In this way, an illegal fee allocation (illegal in that it
was calculated without financial discovery and without fact-finding and in
contravention of established precedent) has been allowed to stand for almost three
years and has cost me untold amounts of grief and stress, not to mention a massive

debt to a friend that I can never hope to pay back.

 
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13. Furthermore, the AFC’s order to show cause for contempt is defective both

procedurally and jurisdictionally, and must be denied. The defects are described

below:

a. CPLR 5104dnan ates that as a condition precedent to contempt, a certified

nas
copy of the order being enforced under a contempt motion must be

   

personally served upon the party or person required by law to obey it. See
NY CPLR § 5104 (2012). The AFC has failed to serve a certified copy of
the order that she is seeking to enforce against me, and she has failed to
serve me a certified copy of the order for all her previous motions for
contempt as well. My former attorney, Mr. Barics, argued this and many
other defects in the AFC’s previous contempt motions. His argument, as
with all my arguments, fell on deaf ears in this Court.

b. The motion for contempt must also fail as it does not specify whether it is
seeking Civil Contempt under Judiciary law 753 or Criminal Contempt
under Judiciary Law 751. This procedural defect is fatal to the application,
considering the motion is seeking the draconian remedy of contempt.

TT
While the AFC’s order to show cause reference Udiciary Law 756 which
contains motion procedures for civil contempt, the relief requested is vague

and does not specify its grounds. This defect is critical, as the notice of

contempt acts to specify the burden of proof that must be established to

 
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sustain a contempt finding. All AFC’s previous motions for contempt
contain the same defect.

c. Since the AFC’s motion for contempt is unclear as to whether it seeks civil
or criminal contempt, the method of service (by “priority mail service”) is
inadequate and is a further fatal flaw. Criminal contempt requires personal
service upon the contemnor. See Dept. of Hous. v. Arick, 131 Misc. 2d 950
(New York Civil Court 1986). Judiciary Law 761 governs service of civil
contempt papers. While service by mail is permissible, given the extreme
remedy of contempt, contempt motions almost always require personal
service. Here, the AFC’s drafted her papers so that service could be
accomplished by mail. This Court did not change the draft order to show
cause to require personal service. If the AFC is seeking criminal contempt,
her papers are defective and the motion must be denied. If the AFC is
seeking civil contempt, this Court should have required personal service,
given the serious charge of contempt that I face.

14. The AFC’s motion for contempt must fail on the merits as well. It is well-
established that the draconian remedy of contempt is a request of last resort, and that
prior to making this extreme request for relief, the movant must demonstrate that

alternate remedies have been exhausted. The AFC can seek a money judgment, or

 
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seek enforcement through a number of enforcement provisions in the CPLR. Yet,
she made no such request.

15. Upon securing a money Judgment, the AFC has the right to issue an
information subpoena. She has never exercised that right.

16. Neither has the AFC attempted to Sequester my assets, garnish a salary, or
make use of other remedies available in the CPLR.

17. The AFC’s affirmation is silent as to why she bypassed normal enforcement
procedures and went straight to contempt. I firmly believe the AFC is guided by a
nefarious motive: of bringing these procedurally and jurisdictionally defective
contempt motions for the sole purpose of driving up her costs to then attack me with
yet another contempt motion down the line for non-payment of her fees for enforcing
her past due fees. This is evident in the instant motion: given that the AFC has
submitted this identical motion TEN times already, it took her two whole hours to
put this one together?

18. Finally, and most important, the AFC is nota party to the proceeding and does
not have the right to bring enforcement by contempt before this Court. Enforcement
by contempt is a remedy available to a party to an action or proceeding, upon a
showing that the rights of that party in litigation have been prejudiced. See Troiano

v. llaria, 205 A.D.2d 752, 614 N.Y.S.2d 916 (2d Dept. 1994) (affirming the denial

of a contempt finding).

 
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19. The AFC’s motion fails this prong of this element of contempt in that she has
failed to establish that the rights of a party have been prejudiced. “To succeed on a
motion to punish for civil contempt, the moving party must show that the alleged
contemnor has violated a clear and unequivocal court order and that the violation
prejudiced a right of a party to the litigation.” Troiano, 205 A.D.2d at 752
(emphasis added). It is clear that only a party may seek contempt. It is well
established that a child is not a party to litigation between parents. Nor is the AF C;
her role is merely to represent her client, the non-party child, in court. Since Troiano
allows only parties to seek contempt, the AFC’s motion for contempt must fail as a
matter of law. The AFC is free to first pursue other, less drastic remedies to enforce
the interim fee allocation, although I am strongly convinced that it is an Ulegal order
that was improperly made without a full investigation into the Mother’s finances and
without a fact-finding in open court.

Cross Motion for Relief in the Event Iam Not Allowed to Withdraw
20. As previously noted, Judge Fasanya stated clearly that I had full permission
to withdraw from this case. See Exhibit 2 at 37-39. However, his use of contempt
power to compel me to appear in Court gives rise to my confusion as to whether I
am required to continue my appearance and litigate this case.

21. Assuming arguendo that I am still an active litigant in the case, I move this

Court for the following:

 
“™~ Case 1:18-cv-10933=RA Document 73-2 Filed 05/16/19~. Page 24 of 55

Immediate Stay of Proceedings

22. As this Court is aware, currently there are two motions pending in the First
Department that have already been put on a briefing schedule: 1) motion for leave
to appeal the corrected order appointing the Attorney for the Child dated December
8, 2016, and 2) application for a stay of the Order dated J anuary 15, 2016. For both,
reply briefs are due on April 3, 2017. The motions are to be decided on the papers
and it is my hope that they will not take long to decide. Both motions will decide
issues that are central to this case, i.e., this Court’s decision to assign an AFC at
private pay rates at the onerous 90/10 percent allocation rate, and the illegality of the
orders of this Court that suspended access of parenting time with my daughter, Eva
Asensio.

23. As can be seen from my above strong opposition to the AFC’s motion for
contempt, this Court can easily remedy much of the grief and confusion engendered
by its assignment of the AFC and her fees. Before any trial on the merits, this Court
must make a final order on the matter of the appointment of the AFC and her fees.
Without it, the parties cannot be certain whether or not they can fairly litigate the
merits of their claims. This Court’s refusal to finalize its AFC order has been the
primary reason for my withdrawal: I cannot keep litigating my petitions in this Court

without knowing whether or not I am racking up AFC fees at the rate of $270 an

 
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19. Page 25 of 55

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hour (90% of private pay rate of $300/hour) while I cannot afford an attorney for
myself.

Pre-trial Fact-Finding on the AFC Fee Allocation

24. This Court, as explained earlier, has not conducted a fact-finding - including
a full inquiry into Respondent Mother’s finances and her affiliations with rich
paramours who have funded her litigious efforts against me and whose contributions
must be imputed to the Respondent as income - and has not made a ruling on the rate
and allocation of fees for the Attorney for the Child to date. This fact-finding must
be conducted without the AFC tacking more money onto her bill, for which I must
pay 90 percent (this Court already knows that the AFC’s bill reflects that 70 percent
of her invoices thus far have been billed to collect on her own fees). This Court
ordered a highly unfair and onerous fee rate and allocation on an interim basis almost
three years ago that has essentially eclipsed and dominated the entire case and
caused the Petitioner great and irreversible financial and emotional harm

Switching the Order of Trial so that Petitioner Goes First

25. It is axiomatic that the party that files a claim in court has the burden of proof
and will proceed with putting on their case first at trial. Inexplicably, this Court
reversed the order of trial, allowing Respondent Mother to go first. Prior to trial, if
I am forced to litigate, I cannot state more strongly that I must be allowed to put my

case on first. I would like to submit my own testimony and cross examine the

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“™~ Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19. Page 26 of 55

Respondent Mother. When this Court reversed the order of trial, it was further
evidence of the strong bias this Judge has in favor of the Respondent Mother and
against me. Regardless of this bias, there is a right way to do things in Court and it
is my strong belief that the order of trial must be set correctly, with the Petitioner
going first.

Richard Spitzer Must Be Deposed First

26. Richard Spitzer, the head of Comprehensive Family Services, was appointed
as visitation supervisor in this case. Not only was an order of supervised visitation
unwarranted in this case, but Richard Spitzer purposefully and impermissibly
injected himself in the middle of my close, loving and calm relationship with my
daughter, clearly evinced a strong bias against me, and impermissibly attempted to
transfer that bias to my daughter. He has submitted a report to this court that is over
100 pages long. This report purports to be merely factual, but in reality, is a de facto
“forensic report” that attempts to pass judgment on my suitability as Eva’s father. I
must be allowed to depose Mr. Spitzer prior to trial in order to fully understand the
contents of that report as well as his mental impressions that he will almost certainly
be raising on the stand during the trial. Although I understand it is not common
practice to hold depositions in Family Court, it is not barred in any manner and in

this case, is necessary in order to arrive at the truth.

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“™~ Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19- Page 27 of 55

Order Immediate Drug Testing On Site for the Respondent Mother

27. The record is replete with my urgent requests to bring this Court’s attention
to the Respondent Mother’s egregious parenting lapses. She is a known drug user,
and has even posted photographs on social media with a marijuana “joint” between
her fingers. Every Family Court has the capability to order on-site drug testing of
parties. I am willing to undergo such testing myself in the interest of fairness. It is
puzzling why this Court has not already ordered such testing in light of my numerous
submissions regarding the Mother’s abuse of illegal substances and exposing our
daughter to her drug use.

28. Thus far this Court has failed to order the Respondent Mother to submit to
immediate, mandatory drug testing. That failure should be rectified now.

Order an Immediate “Court-Ordered Investigation”

29. Family Courts have the power to order a Court-ordered investigation (COI)
by the Administration For Children’s Services (ACS). The investigation’s purpose
is to determine whether the children involved in a child custody case are being
exposed to abuse or neglect. What happens in the case is that an ACS worker will
visit and speak with the children and the parents and render a report to the court.
30. It is time for this Court to order a review of the Respondent’s parenting and
whether her exposure of the Child to her drug- and alcohol-filled high-flying

lifestyle constitutes abuse or neglect. This custodial mother has taken our daughter

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-™ Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19. Page 28 of 55

into bars, has had her hang out in the company of young male underwear models
and porn stars. She has naked and pornographic images and videos of herself on
social media and has even inadequately supervised her daughter in allowing Eva to
create her own social media account while she is underage in which Eva posted
half-clothed photos of herself. These acts surely give rise to the question of
whether the Child has been subjected to abuse or neglect.

31. Based upon the foregoing, I respectfully request that the AFC’s contempt
motion be denied in its entirety, and in the event my withdrawal is not accepted by
this Court, then for the following actions to be ordered: ordering a stay on the
proceedings pending the outcome of motions currently before the First
Department; making a final determination of the interim order of the rate and
allocation of the AFC fees; reversing the current order of trial so that the Petitioner
is able to put his case on first; ordering Richard Spitzer to appear for a deposition
prior to trial; ordering an immediate drug test for the Respondent Mother: and

ordering a Court-ordered investigation (COI) on the possibility of the Child being

Ai¢e—

MANUEL P. ASENSIO

exposed to abuse or neglect.

Sworn to before me this
12th day of March, 2017

Cheah Rey No - O02 BAG 3Z0676

Notary Public | Mey AM MiSs ow ee pine, m 9/28/2014
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EXHIBIT 1
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 30 of 55

EXHIBIT 2
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page,31 of 55
- Attorney for Opposition

 

Attorney for Movant

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“Revised 02/01"
- 32 of 55
Case 1:18-CV-19983aR Me HOWE REDE TES PS! P48 Page 32 the Supreme

Court held in and for the First Judicial Department in
the County of New York on February 2, 2017.

PRESENT: Hon. David Friedman, Justice Presiding,
Dianne T. Renwick
Rosalyn H. Richter
Karla Moskowitz
Barbara R. Kapnick, Justices.

Manuel P. A.,

Petitioner-Appellant,
CONFIDENTIAL

M-6300

~against-
Docket No. V-43839/13/13A

Emilie B.,

Respondent~Respondent.

Petitioner-appellant having moved for leave to appeal to
this Court from orders of the Family Court, New York County,
entered on or about May 19, 2014 and September 23, 2016,
respectively, and to Stay enforcement of the order entered on

May 19, 2014, and for other relief,

Now, upon reading and filing the papers with respect to the
motion, and due deliberation having been had thereon,

It is ordered that the motion is denied.

ENTER:

 

 
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EXHIBIT 3
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 34 of 55

EXHIBIT 4
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 35 of 55
SUMMARY STATEMENT ON APPLICATION FOR

EXPEDITED SERVICE AND/OR-INTERIM RELIEF |
(SUBMITTED BY MOVING PARTY) .
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EXHIBIT 5
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FAMILY COURT OF THE STATE OF NEW YORK
CITY OF NEW YORK - COUNTY OF NEW YORK

In the Matter of a Proceeding for
the Custody and/or Visitation of
Minors Under Article Six of the

Family Court Act

MANUEL P. ASENSIO,
EMILIE BOSAK,

~against-

Petitioners, Docket NO.:

V-43839-15/15A

EMILIE BOSAK,

MANUEL P.

Before:

Appearances:

ASENSIO,
Respondents.
We ee ee eee x
March 13, 2017
60 Lafayette Street
New York, New York 10013
Hon. ADETOKUNBO O. FASANYA, Judge
Family Court of the State of New York

ALEXIS WOLF, Esq.
Attorney for Emilie Bosak

CARMEN RESTIVO, Esq.
Attorney for the child

Holden Thornhill, Esq.
Attorney for Mr. Asensio on the summary contempt

Charlene Fountaliotis-—Squires
Official Court Reporter
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 38 of 55

PROCEEDINGS ‘ 20
1 THE COURT: Mr. Asensio, stop talking.
2 I asked you a simple question. Is that what you
3 wish to withdraw your petitions? Simple calls for a yes or
4 no.
5 MANUEL PEDRO ASENSIO: I reserve the right to put
6 them into Supreme Court and I want to do the list --
7 THE COURT: Stop speaking, Mr. Asensio.
8 The Supreme Court -- I have no control over what
9 happens in the Supreme Court. You can file anything you
10 wish in the Supreme Court. And the Supreme Court, if it
11 feels it necessary, will remove this proceedings from before
12 me. And they will be in the Supreme Court.
13 | My question has nothing to do with that. My
14 question is, I'm giving you an opportunity to tell me. Ts
15 that what you want to have your petitions withdrawn from
16 before me?
17 MANUEL PEDRO ASENSIO: I want it to be withdrawn
18 from here fully.
19 THE COURT: Mr. -- alli of Mr. Asensio's petitions
20 are marked withdrawn.
21 MANUEL PEDRO ASENSIO: Is that with motion to leave?
22 THE COURT: Stop speaking, please.
23 Ms. Wolf, are you ready to proceed on your
24 petition?

 

25 MANUEL PEDRO ASENSIO: May I leave, your Honor?

 
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EXHIBIT 6
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 40 of 55

SUMMARY STATEMENT ON APPLICATION FOR

EXPEDITED SERVICE AND/OR-INTERIM RELIEF
(SUBMITTED BY MOVING PARTY) ;
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EXHIBIT 7
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 42 of 55

SUMMARY STATEMENT ON APPLICATION FOR
EXPEDITED SERVICE AND/OR-INTERIM RELIEF

(SUBMITTED BY MOVING PARTY)
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Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 43 of 55

EXHIBIT 8
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 44 of 55

Ata term of the Family Court held in and for the
County of New York, at the Court house located
at 60 Lalayette Street, in the State of New York,

on the ie _ day of February 2017.
PRESENT:

HON. ADETOKUNBO O. FASANYA
Judge of New York County Family Court

 

een,

In the Matter of a Custody/Visitation Proceeding

MANUEL P. ASENSIO, ORDER TO SHOW CAUSE?
Petitioner, File #: 128425 oe
Adjourn Dates: 3/13/17, 3/14/17
- against - Docket No.: V-43839-13/13A @
EMILIE BOSAK,
Respondent.

 

NOTICE: THE PUPOSE OF THIS PROCEEDING IS TO PUNISH YOU
FOR CONTEMPT OF COURT. SUCH PUNISHMENT MAY CONSIST OF
FINE, IMPRISONMENT, OR BOTH ACCORDING TO LAW.

WARNING:
YOUR FAILURE TO APPEAR IN COURT
MAY RESULT IN YOUR IMMEDIATE ARREST
AND IMPRISONMENT FOR CONTEMPT OF COURT.

Upon the annexed affirmation of CARMEN RESTIVO, ESQ., as counsel for the child EVA
ASENSIO, swom to the 9th day of February 2017, and upon all papers and proceedings herein, it is

hereby,
ORDERED that the Petitioner, MANUEL ASENSIO, show cause at Part 5 of this court at

. Ho:
60 Lafayette Street, New York, New York, on the | 3 day of Marvel, , 2017 at IS “aN WwW)

in the forenoon thereof or as soon thereafter as counsel can be heard, why an order should not be

made punishing the Petitioner for Contempt of Court pursuant to CPLR Section 5 l 04, #, Domestic

a
to comply with the Court’s Ordéf of ‘Appointing Attorney For The Child dated May 19, 2014 —

 
   

Corrected Order Appointing Attorney For The Child dated December 8, 2016, and to hold the
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 45 of 55
Petitioner MANUEL ASENSIO, in CONTEMPT OF COURT for

1. His willful and intentional failure to comply with the Court’s Order of Appointing
Attorney For The Child dated May 19, 2014 - Corrected Order Appointing Attomey
For The Child dated December 8, 2016, wherein Petitioner MANUEL ASENSIO is
to pay (via certified check or money order) the fees for the attorney for the child in
the amount of $13,719.90, and

2. Restraining the Petitioner from bringing further applications until the Petitioner
pays in full all overdue fees for the Attorney for the Child; and

3. Directing that Petitioner pay to the attorney for the child the entire sum of
$13,719.90 on the adjourn date on this application; and

4. Directing that Petitioner satisfy in full the current outstanding fees in the amount
of $13,719.90 through February 2, 2017; and

5. Granting fees and disbursements on this application and directing that any fees
accrued subsequent to this application be included; and

6. The Court schedules this matter on the Court's calendar every 30 — 60 days to
address nonpayment by Petitioner; and

7. Such other and further relief as to this Court shall be just and proper

ORDERED that service via priority mail service of a copy of this Order to Show Cause
and supporting affirmation upon Mr. Manuel Asensio and Alexis Wolf, Esq. (Counsel for
Respondent Emilie Bosak) on or before 5:00PM the pak day of Aebrrvare| 2017 be

deemed sufficient service.

Dated: New York, New York
vary \Up 2017

 

 

Hon. Adetokunbo O. Fasahya
Judge of New York.Cousty Family Court

 
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 46 of 55
To:

Clerk of the Family Court
60 Lafayette Street
New York, NY 10013

Mr. Manuel Asensio
400 East 54" Street, Apt. 29B
New York, New York 10022

mpa@asensio.com

Alexis Wolf, Esq., Counsel for Respondent Emilie Bosak
3 East 54" Street, 16" Floor
New York, New York 10022

awolf@emfesq.com

 
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 47 of 55

FAMILY COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK: Part 5

 

 

In the Matter of a Custody/Visitation Proceeding

MANUEL P. ASENSIO, AFFIRMATION
Petitioner, ORDER TO SHOW CAUSE
~ against -
File No: 128425
EMILIE BOSAK, Docket No.: V-43839-13/13A
Respondent.

 

CARMEN RESTIVO, an attomey duly admitted to practice
before the Courts of the State of New York, hereby affirms the following
under the penalty of perjury:
1. Jam the Court-appointed attorney for the child EVA ASENSIO, and I
make this affirmation is support of my application for:
a. holding the Petitioner MANUEL ASENSIO, (hereinafter
referred to as “Petitioner”) in contempt of Court for his willful and
intentional failure to adhere to the Court’s Order of Appointing Attorney
For The Child; and
b. restraining the Petitioner from bringing further applications until the
Petitioner pays in full all overdue fees for the Attorney for the Child; and
¢. directing that Petitioner pay to the attorney for the child the entire sum
of $13,719.90 on the adjourn date on this application; and
d. directing that Petitioner satisfy in full the current outstanding fees in

the amount of $13,719.90 through February 2, 2017; and

 
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 48 of 55

&. granting fees and disbursements on this application and directing that
any fees accrued subsequent to this application be included; and
f. the Court schedules this matter on the Court's calendar every 30 — 60
days to address nonpayment by Petitioner; and
g. Such other and further relief as to this Court shall be just and proper.
2. As of February 2, 2017, an overdue balance of $13,719.90 still remains.
3. On November 17, 2016, Invoice Number #21 was sent via email to all parties and
counsel for mother, Ms, Alexis Wolf, Esq. Mr. Asensio’s overdue balance on this
Invoice is $3,159.00.

Attached hereto as Exhibit “A” is Invoice #21 and email dated November 17
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2016.

4. On December 5, 2016, at the Appellate Division, First Department, Mr. Mitchell
Cantor, Esq. appeared as counsel for Mr. Asensio and obtained an interim stay of
the May 19, 2014 Attorney for Child Order to the extent of payment of the
attorney for the child's fees and all counsel to submit papers on an expedited
motion basis. On February 2, 2017, the Appellate Division, First Department

denied this motion.

Attached hereto as Exhibit “B” is the decision from the Appellate Division,
First Department dated February 2, 2017, denying the motion.

5. On December 29, 2016, Invoice Number #22 was sent via email to all parties and
counsel for mother, Ms. Alexis Wolf, Esq. Mr. Asensio's overdue balance on this

Invoice is $7,362.90.

 
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 49 of 55

10.

Attached hereto as Exhibit “C” is Invoice #22 and email dated December 29
etn nee Seenee CAMA Gated ecemper 2Y,

2016.

On February 2, 2017, Invoice Number #21 and Invoice Number #22 were resent
to all parties, including counsel for mother, Ms. Alexis Wolf, Esq. and Mr.
Asensio’s Appellate attorney Mr. Mitchell Cantor, Esq.

Attached hereto as Exhibit “D” is the email dated February 2, 2017.

On February 3, 2017, Invoice #23 was sent via email to all parties and counsel for
mother, Ms. Alexis Wolf, Esq. Mr. Asensio's overdue balance on this Invoice is
$3,198.00. For a total overdue balance of $13,719.90 (Invoice Number 21,
Invoice Number 22, and Invoice Number 23). Also, On February 3", Invoice #23

was resent to include Mitchell Cantor, Esq.

Attached hereto as Exhibit “E” is Invoice #23 and emails showing Invoice

was sent via email dated February 3, 2017.

Attached hereto as Exhibit “F” is Mr. Asensio's email in response to havin
—_— Ee AO Ss vir. Asensio Ss email in response to having
received Invoice #23 on February 3, 2017.

The Petitioner shall be solely responsible for bearing 100% of costs associated
with bringing this application.

I have earned and relied on the overdue balance owed to me by Petitioner for my
services in the amount of $13,719.90 through February 2, 2017.

I thus seek an order directing the immediate payment of sums owed, including
the disbursements and time charges on this application.
Zappin v Comfort, 2015 NY Slip Op 51339 (U), Supreme Court, New York

County “ORDERED, that pursuant to 22 NYCRR Section 130-1.1, plaintiff is

tod

 
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 50 of 55

sanctioned for his conduct and as a consequence thereof is directed to pay the sum
of $10,000, with $5,000 to be paid to the Attorney for the Child for her attorney
fees incurred as a result of plaintiff's misconduct necessitating the instant motions,
and with $5,000 to be paid to the Lawyer's Fund for Client Protection as a result
of plaintiffs misconduct that has wasted Judicial resources and otherwise
adversely impacted the administration of justice”.

Venecia V. v August V., 113 AD3d 122 [1* Dept 2013), decided, “The order of the
Same court and Justice, entered March 26, 2012, which granted the motion of the
attorney for the children to direct defendant to pay outstanding fees, and award the
attorney for the children additional fees for making the application, should be
affirmed, without costs.”

Pedreira v Pedreira, 34 AD3d 225 [1" Dept 2006], decided that “the court

 

properly awarded the Law Guardian costs incurred by her in bringing the instant
motion (see O'Shea v O'Shea, 93 NY2d 187, 193 [1999]), especially since the
record discloses that plaintiff has unreasonably caused this protracted fee
litigation.”

Il. Petitioner alone is responsible for ail costs associated with me bringing this
application. This application has taken a total of two hours, at $300.00 per hour,
for a total of $600.00 (This does not include my time and costs of effectuating
service on this application). Ifa reply is required it will include any additional
time spent.

12. The behavior demonstrated by the Petitioner in this matter demonstrates a clear,

willful violation of the order of this Court’s Order of Appointing Attorney for the

 
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Child dated May 19, 2014 - Corrected Order Appointing Attorney For The Child
dated December 8, 2016.

WHEREFORE, it is respectfully requested that the Court grant

the relief sought herein, and for any such other relief as to this Court shall

deem to be just and proper.

   

Dated: New York, New York pooeN
February 9, 2017 Carmen Restivo, Esq.
Attorney for the Child Eva Asensio
299 Broadway, Suite 1415

New York, NY 10007

Tel. No.: 718-767-3798

 
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Ata term of the Family Court held in and for the
County of New York, at the Court house located
at 60 Lafayette Street, in the State of New York,

 

 

onthe {2% day of May 2017. =
PRESENT: ¥
HON. ADETOKUNBO O. FASANYA nN
Judge of New York County Family Court =
[oo
in the Matter of a Custody/Visitation Proceeding SUPPLEMENTAL ORDER TQ;
SHOW CAUSE TO MY ORDER

MANUEL P. ASENSIO, TO SHOW CAUSE FILED ON

2/10/17
Petitioner, File #: 128425

Adjourn Dates: June 26, 2017

- against - Docket No.: V-43839-13/134

EMILIE BOSAK,
Respondent.

 

NOTICE: THE PUPOSE OF THIS PROCEEDING IS TO PUNISH YOU:

FOR CONTEMPT OF COURT. SUCH PUNISHMENT MAY CONSIST OF
FINE, IMPRISONMENT, OR BOTH ACCORDING TO LAW.

WARNING:
YOUR FAILURE TO APPEAR IN COURT
MAY RESULT IN YOUR IMMEDIATE ARREST
AND IMPRISONMENT FOR CONTEMPT OF COURT.

Upon the annexed supplemental affirmation of CARMEN RESTIVO, ESQ.. as counsel for the child

EVA ASENSIO, swom to the 11th day of May 2017, and upon all papers and proceedings herein, it
is hereby,

ORDERED that the Petitioner, MANUEL ASENSIO, show cause at Part 5 of this court at
7p th
60 Lafayette Street, New York, New York, on the Lo day of MY AY 2017 at {2° 60pm

in the forenoon thereof or as soon thereafter as counsel can be heard, why an order should not be

made punishing the Petitioner for Contempt of Court pursuant to CPLR Section 5104, Domestic

Relations Law Section 245 and/or J udiciary Law Section 756 for his willful and intentional refusal

to comply with the Court's Order of Appointing Attorney For The Child dated May 19, 2014 ~—

Corrected Order Appointing Attorney For The Child dated December 8, 2016, and to hold the
1
Case 1:18-cv-10933-RA Document 73-2 Filed 05/16/19 Page 53 of 55

Petitioner MANUEL ASENSIO, in CONTEMPT OF COURT for

1. His willful and intentional failure to comply with the Court’s Order of Appointing
Attorney For The Child dated May 19, 2014 - Corrected Order Appointing Attomey
For The Child dated December 3 ; 2016, wherein Petitioner MANUEL ASENSIO js
to pay (via certified check or money order) the fees for the attorney for the child in
the amount of $30,367.40. and

2. Restraining the Petitioner from bringing further applications until the Petitioner
pays in full all overdue fees for the Attorney for the Child; and

3. Directing that Petitioner pay to the attorney for the child the entire sum of

$30,367.40 on the adjourn date on this application; and

4. Directing that Petitioner Satisfy in full the current outstanding fees in the amount
of $30,367.40 through May 11, 2017; and

5. Granting fees and disbursements on this application and directing that any fees
accrued subsequent to this application be included: and

6. The Court schedules this matter on the Court's calendar every 30 — 60 days to

address nonpayment by Petitioner: and
7. Such other and further relief as to this Court shall be just and proper

oe
ORDERED that service vie, vernight service of a copy of this Supplemental Order to

Show Cause and Supporting supplemental affirmation upon Mr. Manuel Asensio and=Fere-
Delton 47, Bipot rears Fepee Pht crore Pt rareercbont eerie and Alexis Wolf, Esq. (Counsel for

fad Pon ei ance een ree

| ea ;
Respondent Emilie Bosak) on or before 5 :00PM the f day of Y) ay 2017 be

deemed sufficient service.

Dated: New York. New York
ool) Ze , 2017 f

ENTER: q
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t
Hon, Adetokunbo'O. dsanya
Judge of New York ounty Family Court

  

 

 

 

 

 

 
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To:

Clerk of the Family Court
60 Lafayette Street
New York, NY 10013

Mr. Manuel Asensio
400 East 54" Street, Apt. 29B
New York, New York 10022

mpa@asensio.com

Terry Brostowin, Esq., Counsel for Petitioner Manuel Asensio
111 John Street, Suite 800

New York, New York 10038
Tel (212) 240-9704

terrvbrostowin@email.com

Alexis Wolf, Esq., Counsel for Respondent Emilie Bosak
3 East 54" Street, 16" Floor
New York, New York 10022

awolf@emfesg.com

 
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EXHIBIT 9
